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GILsoN KHANG, an individual . Moses sm ’

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR LOS ANGELES COUNTY - CENTRAL DISTRICT - STANLEY MOSK COURTHOUSE

Unlimited Jurisdiction

Case No.: BC 7 01 3 3 5

GILSON KHANG, an individual

Plaintiff,
COMPLAINT FOR DAMAGES:

1. DEFAMATION

2. INTENTIONAL INFLICTION OF
EMOTIONAL DISTRESS

3. INJUNCTIVE RELIEF

VS.

DAVID WILLIAMS, an individual; and
DOES 1 through lOO, inclusive,

Defendants.

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PLAINTIFF COMPLAINS AND FOR CAUSES OF ACTION ALLEGES AS
FOLLOWS:

 

GENERAL ALLEGATIONS:
l. Plaintiff is an individual and is now, and at all times mentioned in this complaint was,
a resident of Seoul, Korea.
2. Plaintiff has worked as a professor in the Tissue Engineering and Regenerative

Medicine program at Chonbuk National University for several years and has been nominated to

serve as a President-Elect of the Tissue Engineering and Regenerative Medicine lnternational

COMPLAINT FOR DAMAGES
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Society, Inc. (hereinafter referred to as “TERMIS”) for the 2018-2020 term. Plaintiff has resided in
Seoul, Korea for several years. Plaintiff has during all this time enjoyed a good reputation, both
generally and in his capacity as a professor in academia.

3. Defendant DAVID WILLIAMS (hereinafter referred to as “WILLIAMS”), is an
individual and is now, and at all times mentioned in this complaint was, a resident of Winston-
Salem, North Carolina.

4. Plaintiff is informed and believes, and thereon alleges that defendant WILLIAMS’
defamatory statements were made when he was visiting this jurisdiction

5. The true names of defendants DOES 1 through 100, inclusive, are unknown to
plaintiff at this time. Plaintiff sues those defendants by such fictitious names pursuant to section 474
of the Code of Civil Procedure. Plaintiff is informed and believes, and based on that information and
belief alleges, that each of the defendants designated as DOE is legally responsible for the events
and happenings referred to in this complaint, and unlawfully caused the injuries and damages to
plaintiff alleged in this complaint

6. Plaintiff is informed and believes, and based on that information and belief alleges,
that at all times mentioned in this complaint, defendants were the agents and employees of their
codefendants and in doing the things alleged in this complaint were acting within the course and
scope of such agency and employment

FACTUAL ALLEGATIONS

7. Defendant WILLIAMS failed to follow the procedural guidelines in place that allow
for the removal of TERMIS members and instead published a defamatory email to other Members,
calling for plaintiffs suspension and removal as President-Elect based on false and disparaging
remarks about plaintiff s professional character.

8. Article ll Section 5 of TERMIS’ bylaws govern the procedures on the Removal of
Members. Pursuant to subsection (a): “Where, after due enquiry by the Membership Committee and
only upon the request of the Executive Committee, a Member is found by the Governing Board to
be guilty of any felonious or criminal act, or disgraceful conduct in any professional respect or

otherwise unbecoming a member of the Society, the Governing Bard may resolve to reprimand in

COMPLAINT FOR DAMAGES
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such a manner as the Governing Board sees fit, including, suspending or expelling the offending
member from the Society’s.”

9. More specifically, any complaints or objections to plaintiffs nomination as
President-Elect of TERMIS should have been voiced at a Special Meeting, held before the
Governing Board with proper notice of said Meeting. Defendant WILLIAMS’ status as Past-
President of TERMIS does not confer upon him the authority to bypass such procedural mandates
and air out his grievances in a private email to select senior members of TERMIS.

10. ln pertinent part, Article V Section 3 of TERl\/IIS’ bylaws states that “Special
meetings of the Governing Board may be called by the President at any time, or by the President or
the Secretary upon the written request of a majority of the Governing Board members.” Article V
Section 4 then explains that, “Notice of the place and time of each meeting of the Governing Board
shall be served on each Board member, by Intemet mail or by oral, telegraphic or other written
notice, duly served on or sent or mailed to him or her at leave five (5) days before the date of the
meeting, unless the prior receipt of such notice is waived.”

11. Without proper notice of and an actual Special Meeting called before the Governing
Board of TERMIS to suspend or terminate plaintiffs position as President-Elect, defendant
WILLIAMS’ conduct makes him liable for defamation

FIRST CAUSE OF ACTION
(Defamation against defendant DAVID WILLIAMS)

12. Plaintiff realleges and incorporates by reference paragraphs 1 through 11, above, as
though fully set forth herein.

13. On or about January 13, 2017 defendants published a letter via electronic mail
(hereinafter referred to as “the Letter”), captioned, “CONFIDENTIAL: KTERl\/IS” to members of
the Korean Tissue Engineering and Regenerative Medicine Society (hereinafter referred to as
“KTERl\/IS”), falsely alleging that plaintiff plagiarized “several papers in the KTERMS Journal” '
and that plaintiff “appeared to be under the influence of alcohol on several formal occasions

[w] ithout proper evidence. . .”

COMPLAINT FOR DAMAGES
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14. The Letter referred to plaintiff by name throughout, was made of and concerning
plaintiff, and was so understood by those who read the Letter.

15. Plaintiff learned of the Letter when he visited Los Angeles, Califomia in October 20,
2017.

16. The entire statement that plaintiff plagiarized “several papers in the KTERMS
Journal”‘is defamatory in the sense that it damages plaintiffs professional reputation, despite the
fact that the matter was resolved long before plaintiff was elected to serve as President-Elect of
TERMIS.

17. Additionally, defendants’ allegation that plaintiff “appeared to be under the influence
of alcohol on several formal occasions [w]ithout proper evidence. . .” is completely erroneous and
admittedly unsupported by any factual basis, as stated by the defendant-declarant DAVID
WILLIAMS.

18. The Letter is libelous on its face. lt clearly exposes plaintiff to hatred, contempt,
ridicule and obloquy because it disgraces his name and professional reputation amongst his peers
and others within the TERMIS organization

19. The Letter was seen and read on or about January 13, 2017 by Professors Inho Jo,
Gunil lm, and other Senior/members of KTERMS.

20. As a proximate result of the above-described publication, plaintiff has suffered loss
of his reputation, shame, mortification, and injury to his feelings, all to his damage in a total amount
of $5,000,000.00.

21. The above-described publication was not privileged because it was published by
defendants with malice, hatred, and ill will toward plaintiff and the desire to injure hjm, in that
defendants had exposed a desire to suspend plaintiffs position as President-Elect of TERMIS.
Because of defendants’ malice in publishing, plaintiff seeks punitive damages as well, in a total
amount to be established by proof at trial.

SECOND CAUSE OF ACTION
(Intentional Ini]iction of Emotional Distress against defendant DAVID WILLIAMS)

COMPLAINT FOR DAMAGES
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22. Plaintiff realleges and incorporates by reference paragraphs 1 through 19, above, as
though fully set forth herein

23. Defendant WILLIAMS’ conduct of making false and defamatory statements about
plaintiff was intentional, outrageous, malicious, and done with ill will and with the intent to injure
plaintiff, as evidenced by defendant’s admission that his accusations were “[w]ithout proper
evidence.”

24. As a direct and proximate result of WILLIAMS’ conduct, he caused injury to
plaintiffs professional reputation and standing amongst his peers and has jeopardized his position
as President-Elect of the global organization known as TERMIS.

25. Defendant WILLIAMS’ conduct was also so severe and outrageous that as a further
direct and proximate result, it was a substantial factor in causing plaintiff to suffer mental anguish
and emotional distress Plaintiff is therefore entitled to recover punitive damages as well.

THIRD CAUSE OF ACTION
(Injunctive Relief Against defendant DAVID WILLIAMS)

26. Plaintiff realleges and incorporates by reference paragraphs 1 through 25, above, as
though fully set forth herein

27. This Court has jurisdiction to grant injunctive relief on behalf of plaintiff pursuant to
Califomia Code of Civil Procedure sections 525 and 526.

28. Plaintiff is without a plain, speedy and adequate remedy in the ordinary course of law
to compel defendant to refrain from making false and defamatory statements about his professional
and personal character.

29. Plaintiff has suffered and will continue to suffer irreparable injury unless and until
this Court enjoins the defendant from continuing his libelous conduct.

30. Defendant’s illegal conduct is ongoing and threaten to be continued in the future.

31. An actual controversy has arisen between plaintiff and defendant in that plaintiff
contends defendant has no right nor privilege to falsely defame his professional reputation and

character amongst his peers.

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COMPLAINT FOR DAMAGES
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WHEREFORE, plaintiff demands judgment against defendants, and each of them, for:
1. Compensatory damages of $5,000,000.00 or an amount according to proof;
2. Preliminary and permanently enjoin defendant from illegally making false and
defamatory statements about his professional `character;
Punitive damages;
lnterest as allowed by law;

Costs of suit; and

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Such other and further relief as this court may deem just and proper.

Respectfully submitted,

Dated: April 4, 2018 BRAD LEE, A Professional Law Corporation

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Brad Lee, Esq.
Albert Ng, Esq.
Attorneys for Plaintiff, GILSON KHANG

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